
81 So.3d 552 (2012)
Jerson DIAZ-MURIELL, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D12-116.
District Court of Appeal of Florida, Third District.
February 15, 2012.
Jerson Diaz-Muriell, in proper person.
Pamela Jo Bondi, Attorney General, for appellee.
Before CORTIÑAS, LAGOA, and EMAS, JJ.
PER CURIAM.
Affirmed. See Adams v. State, 76 So.3d 367 (Fla. 3d DCA 2011) (holding that section 893.13, as amended by section 893.101, Florida Statutes (2002), is constitutional); see also Little v. State, 77 So.3d 722 (Fla. 3d DCA 2011) (same).
